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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                            Case No. 8:23-cr-388-TPB-CPT

 MATTHEW FREDERIC BERGWALL
     a/k/a “MXB”

                           NOTICE OF APPEARANCE

      Please note the appearance of Assistant United States Attorney James A.

Muench, as co-counsel for the Government in regard to forfeiture proceedings in the

above-styled cause. The Government requests that any and all pleadings,

correspondence, and other matters pertaining to this case be directed to the

undersigned, as well as to Assistant United States Attorney Carlton C. Gammons,

on behalf of the Government.

                                          Respectfully Submitted,

                                          ROGER B. HANDBERG
                                          United States Attorney


                                   By:    s/James A. Muench
                                          JAMES A. MUENCH
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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice

of electronic filing to counsel of record.


                                             s/James A. Muench
                                             JAMES A. MUENCH
                                             Assistant United States Attorney




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